      Case 2:22-cr-00046-WBS Document 97 Filed 01/26/23 Page 1 of 2


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 8
                            UNITED STATES DISTRICT COURT
 9
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                     )   Case No.: 2:22-cr-00046-WBS-2
                                                   )
12                            Plaintiff,           )
13
                                                   )   DEFENDANT’S WAIVER OF
                       v.                          )   APPEARANCE
                                                   )
14    IFRAH SHALOM                                 )
                                                   )
15                            Defendant.           )
                                                   )
16                                                 )
17
                                                   )

18
           Defendant, Ifrah Shalom hereby waives his right to be present in open
19
     court upon the hearing of any motion or other proceeding in this case, including
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     when the case is set for trial, when a continuance is ordered, when time is
21
     excluded under the Speedy Trial Act, when a detention hearing is held, and
22
     when any other action is taken by the Court before or after trial, except upon
23
     arraignment, plea, trial confirmation, empaneling of jury, or imposition of
24
     sentence. Defendant hereby requests the Court to proceed during his every
25
     absence that the Court may permit pursuant to this waiver; and agrees that his
26
     interests will be deemed represented at all times by the presence of his attorney,
27

28                                             1


                         DEFENDANT’S WAIVER OF APPEARANCE
      Case 2:22-cr-00046-WBS Document 97 Filed 01/26/23 Page 2 of 2


 1 the same as if the defendant were personally present; and further agrees to be

 2 present in person in court ready for trial on any date that the Court may fix in his

 3 absence.
 4
 5 DATED: January 24, 2023                        /s/ Ifrah Shalom
                                                  IFRAH SHALOM
 6                                                Defendant
 7
 8
                                           By:    /s/ David Kenner
 9 DATED: January 24, 2023
                                                  DAVID KENNER
10                                                Attorney for Defendant
11

12
13                                         Order

14 IT IS SO ORDERED.
15
19   Dated: January 25, 2023




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                          DEFENDANT’S WAIVER OF APPEARANCE
